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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

STATE OF LOUISIANA

NUMBER: 2019-3947 DIVISION: D

J.W. DOE

VERSUS

ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC., THE CATHOLIC MUTUAL
RELIEF SOCIETY OF AMERICA, THE ROMAN CATHLOIC CHURCH OF THE

ARCHDIOCESE OF NEW ORLEANS, AND FATHER LAWRENCE A. HECKER

FILED: DEPUTY CLERK:

Dwight C, Paulsen, Il

Bradley Murchison, Kelly & Shea
1100 Poydras St., Suite 2700

New Orleans, LA 70163

And

Wayne G. Zeringue

Jones Walker

201 St. Charles Avenue, Floor 48
New Orleans, LA 70170

NOTICE OF VIDEOTAPED DEPOSITION OF ARCHBISHOP GREGORY AYMOND

TO:

Henry Brian Highfill

Through: Michael S. Zerlin
Law Office of Michael S$. Zerlin
123 East Seventh Street
Thibodaux, Louisiana 70301

Please take notice that plaintiff JW Doe, through undersigned counsel, will commence the

deposition of Archbishop Gregory Aymond, before a notary public, or some officer duly authorized

to administer oaths.

The videotaped deposition will be taken pursuant to the Louisiana Code of Civil Procedure

and for discovery purposes. Such deposition will continue until completed, and all counsel involved

are invited to participate as they see fit.

Deponent: Archbishop Gregory Aymond

Date: May 28, 2020
Time: 9:00 a.m.
Location: Jones Walker

201 St. Charles Avenue, Floor 48
New Orleans, LA 70170

You are hereby invited to attend and take such part as you shall deem fit and proper

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EXHIBIT 14

 

 

 
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BY:

RESPE lee —

 

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Attorneys for Plaintiff, AA Doe

CERTIFICATE OF SERVICE

I hereby certify that pursuant to LSA-C.C.P. art. 1313 a copy of the above and foregoing

pleading has been served upon all counsel of record by United States Mail, Hand Delivery, or

Electronic Means, and if there is no counsel of record it has been mailed to the last known address

of the adverse party, New Orleans, Louisiana et of March, 2020.
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SOREN E. GISLESON

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